            Case 1:20-cv-06539-JMF Document 90 Filed 09/29/20 Page 1 of 2

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BY ECF

Hon. Jesse M. Furman
U.S. District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Centre Street, Room 2202
New York, NY 10007

Re:      In re Citibank August 11, 2020 Wire Transfers,
         No. 1:20-cv-06539 (JMF)

Dear Judge Furman:

I write on behalf of plaintiff Citibank, N.A. (“Citibank”) in response to the Court’s August 22,
2020, order directing “Citibank [to] file on ECF - under seal and with viewing restricted to the
Court only (ex parte) - the documents with respect to which the regulators have invoked privilege
so that the Court may review them in camera.” Dkt. 84. These documents are attached.

The documents with respect to which the regulators have invoked privilege comprise 35 emails
and attachments sent to the FDIC, the OCC, and the FRBNY; exhibits 1 through 11 are
communications with the FDIC, exhibits 12 through 23 are communications with the FRBNY, and
exhibits 24 through 35 are communications with the OCC.1 Accounting for the fact that Citibank
sent these regulators many of the same documents, the 35 emails and attachments represent
approximately 13 unique documents.

Two points are relevant for this Court’s consideration. First, while the reason that request 1(i) is
categorically improper is that all responsive documents are subject to privileges that belong to
regulators, at least some individual documents are also protected by attorney-client privilege and
the work-product doctrine. Those communications were prepared by and at the direction of
counsel, and include contemporaneous language attesting to their protected status. Those
protections, which belong to Citibank, are, by statute, not waived by disclosure to regulatory
agencies. See 12 U.S.C. § 1828(x). We also note that, while Citibank is providing these documents
to the Court in full, portions of certain documents do not relate to the August 11 wire transfers.

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  Several emails were sent to all three regulators. As each regulator claimed privilege separately, such emails are
reproduced once per regulator. In addition, the FRBNY and OCC have identified two further emails, also attached
here, over which they claim privilege pursuant to their September 18 letters to the court (Dkts. 75 & 76); substantively
identical versions were sent to the FDIC, and referenced in its own letter to the Court (Dkt. 73).

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            Case 1:20-cv-06539-JMF Document 90 Filed 09/29/20 Page 2 of 2
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    Hon. Jesse M. Furman
    September 23, 2020
    Page 2

    And while facts are not privileged (and, for that reason, can be obtained through other routes in
    discovery), “[d]ocuments that contain factual material that cannot practically be segregated and
    released fall within the [bank examination] privilege’s ambit.” FHFA v. HSBC N. Am. Holdings,
    Inc., No. 11-cv-6189, 2014 WL 1909446, at *3 (S.D.N.Y. May 13, 2014); see also In re Subpoena
    Served Upon Comptroller of Currency, & Sec’y of Bd. of Governors of Fed. Reserve Sys., 967 F.2d
    630, 634 (D.C. Cir. 1992) (“Because bank supervision is relatively informal and more or less
    continuous, so too must be the flow of communication between the bank and the regulatory agency.
    Bank management must be open and forthcoming in response to the inquiries of bank examiners,
    and the examiners must in turn be frank in expressing their concerns about the bank. These
    conditions simply could not be met as well if communications between the bank and its regulators
    were not privileged.”).

    Second, although the regulators collectively claimed privilege over 35 documents, only those 18
    that predate August 18 are (regardless of privilege) responsive to defendants’ request for
    production 1(i). As Citibank told the defendants in its responses and objections to the defendants’
    requests, “[u]nless otherwise indicated, Citibank will produce responsive documents for [the
    period July 28, 2020 through August 17, 2020, inclusive].” Dkt. 63 at 6 (brackets in original).
    The defendants have not disputed the relevant timeframe. See generally, Dkt. 63. As a result, the
    communications between Citibank and regulators from August 18 to September 4 are
    non-responsive to the defendants’ request.



                                                         Respectfully submitted,

                                                         /s/ Matthew D. Ingber
                                                         Matthew D. Ingber
